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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

DONNA CAVE, et al.,                                               PLAINTIFFS

ANNE ORSI, et al.,                           CONSOLIDATED PLAINTIFFS

THE SATANIC TEMPLE, et al.,                                    INTERVENORS

v.                           Case No. 4:18-cv-00342-KGB

JOHN THURSTON, Arkansas Secretary
of State, in his official capacity                               DEFENDANT



               MOTION FOR LEAVE TO APPEAR REMOTELY

      Andrew G. Schultz, co-counsel for Plaintiffs Donna Cave, Pat Piazza and

Susan Russel, moves this Court for an Order allowing him to appear remotely at

the status conference scheduled for October 22, 2021. As grounds for this motion,

counsel states as follows:

      1.      This Court noticed a status conference for Friday, October 22, 2021 to

be held at the Richard Sheppard Arnold United States Courthouse in Little Rock,

Arkansas.

      2.      In that Notice of Hearing, the Court stated that “[a]ny party or lawyer

wanting to participate remotely in the status conference must seek permission from

the Court in advance of the hearing in a written filing and demonstrate good

cause.”
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      3.     Good cause exists to permit counsel to participate remotely in the

October 22, 2021 status conference:

             A.      Counsel resides in Albuquerque, New Mexico and is required

      to travel in order to attend the hearing. That trip entails two days of airline

      travel and an overnight stay in Little Rock. That expenditure of time and

      money is considerable in light of what is likely to be a hearing of relatively

      short duration.

             B.      Given that the COVID-19 pandemic is a rapidly evolving

      situation, domestic airline travel is discouraged even for fully vaccinated

      individuals.       See    generally       https://www.cdc.gov/coronavirus/2019-

      ncov/travelers/faqs.html#Domestic-Travel.

             C.      Travel from New Mexico to Arkansas is particularly hazardous

      given that the Center for Disease Control reports that Pulaski County,

      Arkansas is considered to have a “high” level of community transmission of

      COVID-19. See https://covid.cdc.gov/covid-data-tracker/#county-view.

      4.     Throughout this litigation, counsel has attended and actively

participated in all hearings. He travelled from New Mexico to attend the Court’s

last status conference held on September 8, 2021. Counsel intends to be an active

participant in the October 22, 2021 status conference if the Court permits him to

participate remotely in that hearing.


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        For these reasons, Andrew G. Schultz, co-counsel for Plaintiffs Donna Cave,

Pat Piazza and Susan Russel, requests that the Court find that good cause exists to

allow him to appear remotely at the status conference scheduled for October 22,

2021.



                    Respectfully submitted,

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          Attorneys for Plaintiffs Donna Cave, Judith Lansky, Pat Piazza
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